Case 6:21-cv-01150-WWB-GJK Document 18 Filed 11/12/21 Page 1 of 2 PageID 120




                  UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

                        CASE NO.: 6:21-cv-1150

 LEUTRIM TOPALLI,

          Plaintiff,

 v.

 HEALTHCARE REVENUE
 RECOVERY GROUP, LLC,

          Defendant.
 _____________________________________/

  NOTICE OF WITHDRAWAL OF ITS MOTION FOR JUDGMENT ON
    THE PLEADINGS [DE 16] BY DEFENDANT HEALTHCARE
              REVENUE RECOVERY GROUP, LLC

      Defendant, Healthcare Revenue Recovery Group, LLC (“HRRG”) hereby

files its Notice of Withdrawal of its Motion for Judgment on the Pleadings [DE

16], without prejudice. Defendant submits this request in good faith as to

require no further consideration by the Court on this Motion, and to preserve

judicial resources.


                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on November 12, 2021, with the Clerk of the Court by using the electronic
Case 6:21-cv-01150-WWB-GJK Document 18 Filed 11/12/21 Page 2 of 2 PageID 121




filing system. I further certify that the foregoing has been sent via electronic

transmission   to   the   following:   Benjamin   W.   Raslavich,   Esquire   at

ben@theKRfirm.com (Attorneys for Plaintiff).



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